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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., CAPITOL                    §
RECORDS, LLC, WARNER BROS.                       §
RECORDS INC., SONY MUSIC                         §
ENTERTAINMENT, ARISTA                            §
RECORDS LLC, ARISTA MUSIC,                       §
ATLANTIC RECORDING                               §
CORPORATION, CAPITOL                             §
CHRISTIAN MUSIC GROUP, INC.,                     §
ELEKTRA ENTERTAINMENT GROUP                      §
INC., FONOVISA, INC., FUELED BY                  §
RAMEN LLC, LAFACE RECORDS                        §
LLC, NONESUCH RECORDS INC.,                      §
RHINO RECORDS, INC., ROC-A-                       §
FELLA RECORDS, LLC, TOOTH &                      §
NAIL, LLC, ZOMBA RECORDING LLC,                  §
                  PLAINTIFFS,                     §
                                                  §
V.                                                §      CAUSE NO. A-17-CV-365-LY
                                                  §
GRANDE COMMUNICATIONS                             §
NETWORKS LLC, AND PATRIOT                         §
MEDIA CONSULTING, LLC,                            §
               DEFENDANTS.                        §


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       IT IS HEREBY ORDERED that all pending and future discovery motions as well as all

other nondispositive motions in this case are REFERRED to United States Magistrate Judge

Andrew Austin for resolution pursuant to 28 U.S.C. § 636(b)( 1 )(A), Federal Rule of Civil Procedure

72, and Rule 1(c) of Appendix C of the Local Rules of the United States District Court for the

Western District of Texas, as amended.

       IT IS FURTHER ORDERED that all pending and future dispositive motions are

REFERRED to United States Magistrate Judge Andrew Austin for Report and Recommendation

pursuant to 28 U.S.C.    §   636(b)(1)(B), Federal Rule of Civil Procedure 72, and Rule 1(d) of
       Case 1:17-cv-00365-LY-AWA Document 183 Filed 09/17/18 Page 2 of 2



Appendix C of the Local Rules of the United States District Court for the Western District of Texas,

as amended.

       SIGNED this                 day of September, 2018.




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